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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

                         Plaintiff,
                                                   C.A. No. 21-631-MN
             v.
                                               JURY TRIAL DEMANDED
MOBILE VIDEO SOLUTIONS, INC.,

                         Defendant.


                  DEFENDANT MOBILE VIDEO SOLUTIONS, INC.’S
                  OPENING BRIEF IN SUPPORT OF ITS MOTION TO
                    DISMISS FOR FAILURE TO STATE A CLAIM

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Dated: June 2, 2021
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I.       NATURE AND STAGE OF THE PROCEEDINGS

         On April 30, 2021, Plaintiff Rothschild Broadcast Distribution Systems, LLC (“RBDS”)

filed this patent infringement action against Defendant Mobile Video Solutions, Inc. (“MVSI”)

for infringement of U.S. Patent No. 8,856,221 (the “’221 Patent”). No Markman hearing or trial

dates have been calendared.

II.      SUMMARY OF THE ARGUMENT

         RBDS’s Complaint (D.I. 1) should be dismissed because the ’221 Patent is patent-

ineligible under 35 U.S.C. § 101. The claims fail to meet § 101’s threshold eligibility requirement

because (1) they are directed to the abstract idea of requesting, storing, and delivering media

content, and (2) they merely recite this abstract idea as a desired outcome without stating or

placing limitations on how to implement the idea, other than using generic functionality

performed by conventional computer components.

         The Supreme Court has held that abstract ideas, including longstanding human activities,

are ineligible for patent protection under § 101. Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S.

Ct. 2347, 2354 (2014). That principle cannot be circumvented by limiting an idea to a

technological environment or implementing it using generic computer functionality. Id. at 2359-

60. In recent years, the Supreme Court, the Federal Circuit, and this Court have all routinely

invalidated generic computer-implemented patent claims under § 101. See, e.g., id.; Affinity Labs

of Tex., LLC v. DirecTV, LLC, 838 F.3d 1253, 1255-56, 1265 (Fed. Cir. 2016).

         The patent claims here suffer from the same basic defect as the claims in those cases

because they are directed not to any improvement in computer technology, but rather to routine

and common tasks long performed by humans, and use conventional computer components




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merely as tools to perform these basic tasks. Accordingly, the claims are invalid under § 101, and

RBDS’s Complaint should be dismissed.

III.   STATEMENT OF THE FACTS

       On April 30, 2021, RBDS filed its Complaint alleging that MVSI infringes “one or more”

claims of the ’221 Patent, entitled “System and Method for Storing Broadcast Content in a

Cloud-based Computing Environment.” (D.I. 1 at ¶ 23.) The patent purportedly discloses “a

method and system for on-demand storage and delivery of media content.” ’221 Patent 1:26-27.

The ’221 Patent’s two independent claims, claims 1 (to a “system”) and 7 (to the corresponding

“method”), claim substantially the same invention with only minor variations. Claim 1 is

representative:

       1. A system for media content storage and delivery, the system comprising:
       a first server, the first server including:
            a first receiver, the first receiver configured to receive a request message
                including media data indicating requested media content and a consumer
                device identifier corresponding to a consumer device; and
            a first processor in communication with the first receiver, the first processor
                configured to determine whether the consumer device identifier
                corresponds to a registered consumer device;
       if the first processor determines that the consumer device identifier corresponds to
            the registered consumer device, then: the first processor is further configured to
            determine whether the request message is one of a storage request message and
            a content request message;
            if the request message is the storage request message, then the processor is
                further configured to determine whether the requested media content is
                available for storage; and
            if the request message is the content request message, then the processor is
                further configure to initiate delivery of the requested media content to the
                consumer device;
            wherein the media data includes time data that indicates a length of time to store
                the requested media content; and
            the first processor is further configured to determine whether the requested
                media content exists; and
            if the processor determines that the requested media content exists, the
                processor is further configured to determine whether the requested media
                content is available and whether there are restrictions associated with the




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               requested media content that prevent the requested media content from
               being delivered to the consumer device.

       The purported invention conceives of a system for alternatively storing or delivering

requested media content in response to requests from consumer devices (e.g., “wired or wireless

devices such as mobile phones, [PDA] devices, personal computers, laptop computers, tablet

computers, digital video recorders, televisions, [DVD] players, among other devices that may

communicate via network”). Id. 2:20-43, 3:56-60. The claimed “system” of claims 1 is

comprised only of three generic components: a “server,” a “receiver,” and a “processor.” Id.

2:24-25. The dependent claims do not add any other system components, other than a “memory”

in claim 4. The system responds to two types of prompts: “storage request messages” and

“content request messages.” Id. 2:37, 6:34-35. If the server receives a “storage request message,”

it looks at the “media data” included in the message to determine how long to store the requested

media content. Id. 5:23-36. The server may then download the requested media content. Id. 5:63-

66. Alternatively, if the server receives a “content request message,” the server searches a

“media database” for the requested content. Id. 6:42-44. Once the content is located, the server

may transmit it to the consumer device. Id. 7:1-2.

       The ’221 Patent admits that on-demand video and music services are prior art. Id. 1:33-

36. The perceived problem with the existing systems related not to the means of transmitting or

storing data, but rather to how a consumer’s cost of use was not correlated with his or her

quantity of media consumption. Id. 1:48-2:2. Instead of improving the technology of storing,

transmitting, or processing media content, the ’221 Patent purports to improve the economics of

these systems by “tailor[ing the] cost to each consumer based on the requested media content and

each consumer’s needs.” Id. 2:14-16. To achieve this alleged solution, the claimed invention

requires nothing more than conventional components (e.g., “general purpose computer system,”



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id. 10:17-18), standard communication equipment (e.g., a “transmitter” and “receiver,” id. 2:25,

2:35), and generic hardware and software requirements (e.g. “The present invention can be

realized in hardware, software, or a combination of hardware and software.” id. 10:12-13). Of

note, only two claims of the ’221 Patent (dependent claims 12 and 13), neither of which is

mentioned in RBDS’s Complaint, have anything to do with costs of use or other alleged

economic benefits of the claimed “system” (claim 12 merely adds a step of “transmitting a

financial cost of delivering the requested media content” and claim 13 denotes that the “financial

cost is unaffected by the number of times the requested media content is delivered”).

IV.    LEGAL STANDARD

       A.      Fed. R. Civ. P. 12(b)(6).

       Under Rule 12(b)(6), a party may move to dismiss a complaint that fails to state a claim

upon which relief can be granted. To survive a Rule 12(b)(6) motion, a complaint “must allege

facts that ‘raise a right to relief above the speculative level on the assumption that the allegations

in the complaint are true (even if doubtful in fact).’” Victaulic Co. v. Tieman, 499 F.3d 227, 234

(3rd Cir. 207) (citation omitted). In deciding a Rule 12(b)(6) motion, courts consider documents

attached to or incorporated into the complaint as well as facts alleged in the complaint. Gibbs v.

Coupe, No. CV 14-790-SLR, 2015 WL 6870033, at *1 (D. Del. Nov. 6, 2015) (citation omitted).

       Although factual allegations are taken as true, legal conclusions are given no deference—

those matters are left for the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(noting tenet that allegations are taken as true on a motion to dismiss “is inapplicable to legal

conclusions”). “[W]hen the allegations in a complaint, however true, could not raise a claim of

entitlement to relief [as a matter of law], this basic deficiency should . . . be exposed at the point

of minimum expenditure of time and money by the parties and the court.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 558 (2007) (internal citations and quotations omitted).


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       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J.,

concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Genetic Techs. Ltd. v. Merial L.L.C., 818 F.3d 1369, 1374 (Fed. Cir. 2016) (“[C]laim

construction is not an inviolable prerequisite to a validity determination under § 101.”) (brackets

in original, internal citations and quotations omitted).

       B.         35 U.S.C. § 101

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101.

Also, the law recognizes exceptions to patent eligibility, including “abstract ideas.” Diamond v.

Chakrabarty, 447 U.S. 303, 308 (1980). Abstract ideas are ineligible for patent protection

because a monopoly over these ideas would preempt their use in all fields. See Bilski, 561 U.S. at

611-12. In other words, “abstract intellectual concepts are not patentable, as they are the basic

tools of scientific and technological work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S.

63, 67 (1972)).

       Determining whether a patent claim is impermissibly directed to an abstract idea involves

two steps. First, the court determines “whether the claims at issue are directed to a patent-

ineligible concept.” Alice, 134 S. Ct. at 2355. Second, if the claim contains an abstract idea, the

court evaluates whether there is “an ‘inventive concept’—i.e., an element or combination of

elements that is sufficient to ensure that the patent in practice amounts to significantly more than

a patent upon the ineligible concept itself.” Id. (internal quotations and citations omitted).




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       Transformation into a patent-eligible application requires “more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed

in the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource

Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not

meaningfully limited if it includes only token or insignificant pre- or post-solution activity—such

as identifying a relevant audience, category of use, field of use, or technological environment.

Mayo, 132 S. Ct. at 1297-98, 1300-01.

       Finally, “simply appending conventional steps, specified at a high level of generality, to

laws of nature, natural phenomena, and abstract ideas cannot make those laws, phenomena, and

ideas patentable.” Mayo, 132 S. Ct. at 1300; see also Fort Props., Inc. v. Am. Master Lease LLC,

671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a broad and general limitation does not impose

meaningful limits on the claim’s scope.”).

V.     ARGUMENT

       The claims of the ’221 Patent are patent-ineligible because they: (1) are directed to the

abstract idea of requesting, storing, and delivering media content; and (2) involve only

conventional computer components and generic computer functions that do not, individually or

in combination, make the claims patent-eligible. Because RBDS has failed to state a claim upon

which relief may be granted, MVSI respectfully requests that the Court grant its motion and

dismiss this case with prejudice. Fed. R. Civ. P. 12(b)(6).

       For § 101 purposes, all 13 claims of the ’221 Patent can be evaluated collectively based

on representative claim 1 because they are all “substantially similar and linked to the same

abstract idea.” Alice, 134 S. Ct. at 2359-60 (invalidating 208 claims across four patents based on




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two representative claims); see also Content Extraction & Transmission LLC v. Wells Fargo

Bank, Nat'l Ass'n, 776 F.3d 1343, 1348 (Fed. Cir. 2014) (invalidating 242 claims after analyzing

only two “representative claims” where the other claims were “substantially similar in that they

recite little more than the same abstract idea”). As discussed below, the ’221 Patent claims are

invalid even if considered separately and under any claim construction.

       A.      Alice Step One: The ’221 Patent Claims Are Directed to an Abstract Idea.

               1.      Requesting, storing, and delivering media content is an abstract idea.

       Stripped of its excessive verbiage, independent claims 1 and 7 recite the abstract idea of

requesting, storing, and delivering media content as a series of basic steps: (1) a server receives a

request message; (2) the server determines whether the request is to store content or deliver

content; (3a) if the request is to store content, then the server determines whether the content is

available and how long to store it; or (3b) if the request is to deliver content, then the server

determines whether the content is available and whether there are restrictions on its delivery. ’221

Patent claims 1, 7. The dependent claims add limitations that involve receiving a storage

confirmation message (claims 2, 8), sending a registration prompt message (claims 3, 9), storing

user data (claims 4, 10), verifying that the consumer device is associated with a user (claims 5, 11),

using a second server to store content (claim 6), and transmitting the financial cost of delivering

the requested content (claims 12, 13).

       Both the specification and RBDS’s Complaint confirm that the core of the claims—the

essential, most important aspect—is the abstract idea of requesting, storing, and delivering media

content. This process is an activity “humans have always performed,” Content Extraction and

Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1347 (Fed. Cir. 2014)—a

basic tool in the “storehouse of knowledge” that is “free to all . . . and reserved exclusively to

none.” Bilski, 561 U.S. at 602. People often arrange for requested content to be stored and


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delivered—for example, the humble coat check system requires an attendant to communicate

with patrons and either store or retrieve their coats upon request. This basic human activity

precedes the digital age, and its core functionality is not improved by simply performing the

same routine on a computer.

       That the authentication methods claimed by the ’221 Patent require the use of computers

and multiple steps does not make the claims any less abstract. Take for example requesting,

storing, and delivering VHS tape content in the context of a 1980s public library. The table

below illustrates this analogy by comparing claim 1 to an adapted version of claim 1 that

substitutes the generic computer components with traditional human activity.

                    Claim 1                              1980s Library Rental of a VHS tape
  1. A system for media content storage and A library system for media content storage and
     delivery, the system comprising:       delivery, the library system comprising:

      a first server, the first server including:   a library branch including:

           a first receiver, the first receiver     a librarian who receives a request for a VHS tape
           configured to receive a request          including rental duration information and a
           message including media data             patron’s library card corresponding to a patron;
           indicating requested media content       and
           and a consumer device identifier
           corresponding to a consumer
           device; and

           a first processor in communication a second librarian in communication with the first
           with the first receiver, the first     librarian, the second librarian who is able to
           processor configured to determine determine whether the patron’s library card
           whether the consumer device            corresponds to a registered patron of this library;
           identifier corresponds to a registered
           consumer device;

      if the first processor determines that the    if the librarian determines that the library card
      consumer device identifier corresponds        corresponds to a registered patron of this library,
      to the registered consumer device, then:      then: the librarian determines whether the patron’s
      the first processor is further configured     request is a request for a VHS tape that is not
      to determine whether the request              currently physically present at the branch, or a
      message is one of a storage request           request for a VHS tape that is currently available at
      message and a content request message;        the branch;


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           if the request message is the storage       if the patron’s request is for a VHS tape that is
           request message, then the processor         not currently physically present at the branch,
           is further configured to determine          the librarian determines whether the VHS tape
           whether the requested media content         is available at another branch and could be
           is available for storage; and               transferred to the local branch to be picked up
                                                       by the patron at a later date;

           if the request message is the content       if the patron’s request is for a VHS tape that is
           request message, then the processor         currently available at the branch, then the
           is further configure to initiate            librarian helps the patron find the VHS tape
           delivery of the requested media             on the shelf and check it out;
           content to the consumer device;

           wherein the media data includes             wherein the patron informed the librarian how
           time data that indicates a length of        long he or she wanted to rent the VHS tape
           time to store the requested media           for, and could also ask to renew the material if
           content; and                                needed for a longer period of time;

           the first processor is further              the librarian further determines whether the
           configured to determine whether the         VHS tape is actually on the shelf using the
           requested media content exists; and         card catalog and his or her senses to verify
                                                       that the correct materials have been
                                                       catalogued;

           if the processor determines that the        if the librarian determines that the correct
           requested media content exists, the         VHS tape exists, he or she can determine
           processor is further configured to          whether the VHS tape is available to borrow
           determine whether the requested             (e.g., has not already been reserved by another
           media content is available and              patron) and whether there are any restrictions
           whether there are restrictions              associated with the requested VHS tape (e.g.,
           associated with the requested media         age-based restrictions such as an MPAA
           content that prevent the requested          rating) that prevent the VHS tape from being
           media content from being delivered          delivered to the requesting patron.
           to the consumer device.

       As this comparison illustrates, the method claimed by the ’221 Patent is no different from

an activity humans have long performed—requesting, storing, and delivering media content—

except that the claimed method is automated using conventional, generic computer technology.

See Alice, 134 S. Ct. at 2359 (finding routine activity long performed by humans and simply

implemented on a computer does not confer patentability).




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               2.       The claims are untethered to a specific implementation.

       The ’221 Patent does not disclose any special or improved way of requesting, storing, and

delivering media content, and no specific hardware configuration is required. To the contrary, it

teaches that “[t]he present invention can be realized in hardware, software, or a combination of

hardware and software” and that “[a]ny kind of computing system, or other apparatus adapted for

carrying out the methods described herein, is suited to perform the functions described herein.”

’221 Patent 10:12-16.

       The abstract concept of the ’221 Patent “does not become nonabstract” merely because

the claims involve the “technological environment” of conventional components. Intellectual

Ventures I LLC v. Symantec Corp., 838 F.3d 1307, 1319 (Fed. Cir. 2016) (citation omitted) (“IV-

Symantec”); see also Alice, 134 S. Ct. at 2358. In TLI, the Federal Circuit observed that although

the representative claim required “concrete, tangible components such as ‘a telephone unit’ and a

‘server,’ the specification [made] clear that the recited physical components merely provide a

generic environment in which to carry out the abstract idea of classifying and storing digital

[data] in an organized manner.” In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 614 (Fed.

Cir. 2016).

       Moreover, like other computer-implemented claims found to be patent-ineligible, the ’221

Patent claims merely claim a desired result without explaining “how this would be

technologically implemented”—the claims specify no “particular way of programming or

designing the software.” Apple, Inc. v. Ameranth, Inc., 842 F.3d 1229, 1241, 1244 (Fed. Cir.

2016). Instead, they contain broad functional language and only recite a desired goal of storing or

delivering requested content in response to a request message. See ’221 Patent cl. 1 (i.e., “receive

a request message,” “determine whether the request message is one of a storage request message

and a content request message,” “determine whether the requested media content is available for


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storage,” and “initiate delivery of the requested media content”). Such “vague, functional” terms,

“devoid of technical explanation as to how to implement the invention” in any non-conventional

way, cannot confer eligibility. TLI, 823 F.3d at 615; see also, e.g., Elec. Power Group, LLC v.

Alstom S.A., 830 F.3d 1350, 1356 (Fed. Cir. 2016); Affinity Labs-DirecTV, 838 F.3d at 1265;

Dealertrack, Inc. v. Huber, 674 F.3d 1315, 1333 (Fed. Cir. 2012).

       The ’221 Patent claims are materially indistinguishable from claims directed to network-

based media sharing systems that deliver streaming content, which the Federal Circuit has

repeatedly found to be directed to abstract ideas. For example, the claims in Ultramercial were

directed to the abstract idea of transmitting “media products” from a “content provider” in

response to a “request from the consumer.” Ultramercial, 772 F.3d at 712. Similarly, in Affinity

Labs-Amazon, the Federal Circuit held that claims directed to a “media managing system” that

responds to a “collection of instructions” to “send a request for a streaming delivery of the

content” were directed to the abstract idea of “delivering user-selected media content to portable

devices.” Affinity Labs of Tex., LLC v. Amazon.com, Inc., 838 F.3d 1266, 1269 (Fed. Cir. 2016).

The ’221 Patent’s recitation of a “system for media content” that responds to a “request message”

to “initiate delivery of the requested media content to the consumer device” likewise reveals its

impermissible direction to an abstract idea. ’221 Patent 10:44-67.

               3.      The claims are not directed to a specific improvement in a computer’s
                       capabilities.

       Three Federal Circuit cases finding claims patent-eligible at Alice step one are notably

different from this case. See Enfish, LLC v. Microsoft Corp., 822 F.3d 1327 (Fed. Cir. 2016);

McRO, Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299 (Fed. Cir. 2016); Visual Memory

LLC v. NVIDIA Corp., 867 F.3d 1253 (Fed. Cir. 2017). In those cases, unlike here, the claims

recited “specific . . . improvement[s] in computer capabilities.” Enfish, 822 F.3d at 1336; see



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also McRO, 837 F.3d at 1313-14; Visual Memory, 867 F.3d at 1258 (finding that “claims focus

on a ‘specific asserted improvement in computer capabilities’—the use of programmable

operational characteristics that are configurable based on the type of processor—instead of ‘on a

process that qualifies as an “abstract idea” for which computers are invoked merely as a tool’”)

(citation omitted).

       Here, the ’221 Patent “fails to provide any technical details for the tangible components”

and “instead predominantly describes the system and methods in purely functional terms” using

nothing more than conventional computer components (’221 Patent 10:12-16) and non-specified

software routines (e.g., id. 3:51-55, 3:61-62, 4:6-10, 4:26-29, 4:48-51, 5:8-10, 5:20-23, 10:16-

34). TLI, 823 F.3d at 612 (distinguishing Enfish); see also FairWarning IP, LLC v. Iatric Sys.,

839 F.3d 1089, 1094 (Fed. Cir. 2016) (distinguishing McRO and Enfish); IV-Symantec, 838 F.3d

at 1313-14, 1315, 1321, n.5 (same); Affinity Labs-DirecTV, 838 F.3d at 1262 (same); Ameranth,

842 F.3d at 1241 (distinguishing McRO).

       As discussed above, here the claimed steps and components “do no more than describe a

desired function or outcome, without providing any limiting detail” to “confine[] the claim to a

particular solution.” Affinity Labs-DirecTV, 838 F.3d at 1269. The ’221 Patent does not purport

to claim any new computer capability, but rather relies on use of the well-known capabilities of

computers, as discussed above. See ’221 Patent 10:12-16. That is, the claims of the ’221 Patent

do not recite “an improvement in computers as tools,” but instead “use computers as tools” to

perform the abstract idea of requesting, storing, and delivering media content. See Elec. Power,

830 F.3d at 1354.




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       B.      Alice Step Two: The ’221 Patent Claims Only Implement the Abstract Idea
               Using Generic Computer Technology, Add Nothing Inventive, and Are
               Therefore Patent-Ineligible.

       The ’221 Patent’s claims also fail Alice’s second step because they add nothing inventive

to the abstract idea of requesting, storing, and delivering media content. Each of the claims

merely apply the concept in a particular technological environment using conventional computer

components and functions. That is insufficient to make the claims patent eligible under § 101,

even if they could pass muster under Alice’s first step.

               1.      The independent claims add nothing inventive.

       Independent claim 1 recites performing an abstract idea using conventional computer

functions: receiving request messages, verifying authorization, searching for requested content,

and sending requested data. ’221 Patent cl. 1. Such steps are “basic functions of a computer” and

do not make the claims eligible. See Alice, 134 S. Ct. at 2359-60 (citation omitted). In addition,

the use of “purely functional and generic” computer components is insufficient. Id. at 2360. The

system of claim 1 is made up of only these generic components: a “server,” a “receiver,” and a

“processor.” ’221 Patent cl. 1. Independent method claim 7 fares no better, as it likewise requires

the method to be performed using only these generic components (a “consumer device,” and a

“processor”). ’221 Patent cl. 7.

       Courts have repeatedly found such components and functions non-inventive. In Alice, for

example, the Supreme Court held that claims reciting a “data processing system” with a

“communications controller” for obtaining, modifying, and transmitting data was non-inventive.

Alice, 134 S. Ct. at 2359-60. The Federal Circuit also has held similar basic computer functions

and components to be insufficient to confer eligibility. See, e.g., Intellectual Ventures I LLC v.

Capital One Bank (USA), 792 F.3d 1363, 1367-71 (Fed. Cir. 2015) (using an “interactive

interface” and “break[ing down] and organiz[ing] . . . data according to some criteria” and


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monitoring data is non-inventive); buySAFE v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir.

2014) (sending data over network is “‘not even arguably inventive’”); Dealertrack, 674 F.3d at

1333 (finding “selectively forwarding” information and forwarding reply data is non-inventive).

The same is true for the ’221 Patent.

        Even when these basic functions and components are viewed “as an ordered

combination,” they do not reveal a “non-conventional and non-generic arrangement of known,

conventional pieces” that might provide an inventive concept. Bascom Global Internet Servs.,

Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016); see also DDR Holdings, LLC

v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014) (explaining that the claims at issue

involved a technological solution that overcame a specific challenge unique to the Internet).

Unlike the handful of particular enhancements to computer technology (or application of the

abstract idea to improve another technology or process) that the Federal Circuit has found

eligible at Alice step two, the claims here merely apply an “old solution” (requesting, storing, and

delivering media content) in a computer environment without specifying any non-conventional

way to accomplish or practice the idea. See Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d

1138, 1151-52 (Fed. Cir. 2016) (distinguishing DDR and Bascom); IV-Symantec, 838 F.3d at

1321 (same); Affinity Labs-DirecTV, 838 F.3d at 1261–62, 1265 (same).

        The claims’ arrangement of computer components and processes merely automate

necessary steps to store and deliver requested content in response to a request message, which

“cannot confer patent eligibility.” TLI, 823 F.3d at 615. Thus, the independent claims add only

insignificant limitations that do not render it patent eligible.

                2.      The dependent claims add nothing inventive.

        The additional limitations in the dependent claims do not confer patent-eligibility because

they either recite token post-solution limitations or elements performed by computing elements


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that are “purely conventional,” merely requiring “a generic computer to perform generic

computer functions.” Alice, 134 S. Ct. at 2359. Specifically:

               Claims 2 and 8 require the receiver to receive a storage confirmation
                message;

               Claims 3 and 9 provide for a registration prompt message to be sent
                if the consumer device is not registered;

               Claims 4 and 10 call for user data to be stored in memory;

               Claims 5 and 11 require the processor to verify that the consumer
                device identifier is associated with an end user;

               Claim 6 relates to the use of a second server to store content; and

               Claims 12 and 13 involve transmitting the financial cost of
                delivering the requested content.

       These trivial limitations cannot confer patent eligibility. See, e.g., Bilski, 561 U.S. at 612

(“[L]imiting an abstract idea to one field of use or adding token post-solution components d[oes]

not make the concept patentable[.]”). For example, claim 6 simply adds a second server to the

system of claim 1. This second server is described purely functionally (“store the requested

media content,” “receive a delivery message,” “transmit the requested media content”), and thus

suffers from the same defects as claim 1. Other claims call for additional generic message

processing (claims 2, 3, 8, 9), or the storage and verification of user data (claims 4, 5, 10, 11).

Finally, claims 12 and 13, which require the server to transmit the financial cost of delivering the

media content, are also irredeemably abstract because the communication of cost for providing a

good or service is a basic economic activity long performed by humans.

       C.       This case is ripe for disposition on the pleadings.

       The issue of the patent eligibility is ready for the Court’s consideration. This case is

unlike Berkheimer or Cellspin, where plaintiffs’ non-conclusory factual allegations were

sufficient to establish at least a factual dispute as to whether the patents-at-issue claimed an


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inventive concept. In Berkheimer, the Federal Circuit noted that the specification explicitly

“describe[d] an inventive feature that store[d] parsed data in a purportedly unconventional

manner.” 881 F.3d 1360, 1369 (Fed. Cir. 2018). In Cellspin, the amended complaint identified

“several ways in which its application of capturing, transferring, and publishing data was

unconventional.” 927 F.3d 1306, 1316 (Fed. Cir. 2019).

       Here, there can be no factual dispute that the Asserted Patents do not claim

unconventional mechanisms of implementing the abstract idea. Plaintiff’s bare and implausible

allegations in the Complaint cannot defeat this motion; otherwise Rule 12(b)(6) would be

rendered toothless against plaintiffs who plead “magic words.” (See D.I 1 at ¶¶ 19–22.) Patentee

plaintiffs should not have the power to irrefutably declare that their claims are inventive. See

Appistry, Inc. v. Amazon.com, Inc., 195 F. Supp. 3d 1176, 1183, n.6 (W.D. Wash., 2016) aff’d

sub nom. Appistry, LLC v. Amazon.com, Inc., 676 F. App’x 1008 (Fed. Cir. 2017) (“Plaintiff’s

position is absurd. Requiring the Court to accept such facts or legal conclusions (even in the

form of an early expert declaration) would permit any plaintiff to circumvent the § 101 inquiry

on an early motion to dismiss or motion for judgment on the pleadings simply by including a few

lines attesting to the novelty of the invention.”). Instead of shielding the Asserted Patents from a

§ 101 challenge, these bald assertions instead betray that Plaintiff is keenly aware of the claims’

vulnerability.

       The § 101 issue can be resolved without claim construction because the non-technical

steps to “receive a request message,” “determine whether the consumer device identifier

corresponds to a registered consumer device,” “determine whether the request message is one of

a storage request message and a content request message,” “determine whether the requested

media content is available for storage,” “initiate delivery of the requested media content,”




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“determine whether the requested media content exists,” and “determine whether the requested

media content is available and whether there are restrictions” can be well understood without

construction. ’221 Patent cl. 1; see also O2 Micro Intl. Ltd. v. Beyond Innovation Tech. Co., 521

F.3d 1351, 1360-63 (Fed. Cir. 2008) (emphasizing that claim construction is not an obligatory

exercise in redundancy and is not required when terms have a well-understood meaning). The

claimed steps are so generic (e.g., “receive,” “determine”) that no construction would provide

meaningful limitations to transform the abstract nature of the claims into an eligible and

inventive concept. See Alice, 134 S. Ct. at 2357. The issue of the patent eligibility is thus ripe for

the Court’s consideration.

VI.    CONCLUSION

       For the foregoing reasons, MVSI respectfully requests that the Court dismiss RBDS’s

Complaint for failure to state a claim upon which relief can be granted. Because leave to amend

would be futile, MVSI respectfully requests dismissal with prejudice.




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